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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 CHANNA NEWMAN,                             )
              Plaintiff,                    )
                                            )
                 vs.                        ) Civil Action No. 2:20-cv-00204-MRH
                                            )
 POINT PARK UNIVERSITY,                     )
                 Defendant.                 )



                            DEFENDANT’S NOTICE REGARDING
                         PLAINTIFF’S MORE DEFINITE STATEMENT

        Defendant Point Park University submits this Notice regarding Plaintiff’s More Definite

Statement.

        In response to the Court’s July 1, 2020 Order (ECF No. 37), Plaintiff has filed a More

Definite Statement as to Counts 13, 14, and 19 of her Amended Complaint. ECF No. 38. In her

More Definite Statement, Plaintiff avers that Counts 15 and 16 of her Amended Complaint are

now “withdrawn/merged with” Counts 13 and 14. ECF No. 38, p. 10.

        Contemporaneously with this Notice, Point Park is filing a Response as to Count 19

(“Intentional Infliction of Emotional Distress”) of the Amended Complaint, as modified by

Plaintiff’s More Definite Statement, and continues to seek dismissal of the Count pursuant to

Rule 12(b)(6).

        As to Counts 13 and 14 (“Breach of Contract”) of the Amended Complaint, as modified

by Plaintiff’s More Definite Statement, Point Park is of the view that said Counts should be

addressed, following discovery, through a Motion for Summary Judgment and, as such, does not

seek their dismissal at this stage.
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 17, 2020, a true and correct copy of the

foregoing Defendant’s Notice Regarding Plaintiff’s More Definite Statement was filed

electronically with the Court. Notice of this filing will be sent to all counsel of record by operation

of the Court’s electronic filing system, and the parties may access this filing through the Court’s

system.


                                               /s/ David J. McAllister
                                               Attorney for Defendant




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